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                   UNITED STATES BANKRUPTCY COURT
                  FOR THE DISTRICT OF MASSACHUSETTS
 ____________________________________
                                      )
 IN RE:                               )
 YVONNE V. SKAPARS                    )      Chapter 13
        Debtor,                       )      Case No.: 15-11221
 ____________________________________)


     MOTION TO AMEND SCHEDULES I & J AND THE CHAPTER 13 PLAN

        Now come the Debtor, Yvonne Skapars, through counsel and hereby requests this

 Honorable Court allow her to Amend Schedules I & J and the Chapter 13 Plan. As

 reasons therefore, the debtor states as follows:

        1. The amended Schedules I & J shows that the Debtor can afford the new plan

 payment.

        2. The amended Chapter 13 Plan treats all proof of claims accurately.

        WHEREFORE, Debtor, Yvonne Skapars, hereby requests the court allow her to

 Amend Schedules I & J and the Chapter 13 Plan.

                                               Respectfully Submitted,
                                               The Debtor,
                                               By Her Attorney,


                                               /s/ Peter M. Daigle______________
                                               Peter M. Daigle, Esquire
                                               BBO # 640517
                                               1550 Falmouth Road, Suite 10
                                               Centerville, MA 02632
                                               (508) 771-7444

 Dated: April 26, 2016
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                              CERTIFICATE OF SERVICE


          I hereby certify that I have caused a duplicate copy of the above to be served upon
 all parties of record by electronic e-mail and first class mail.


                                               /s/ Peter M. Daigle__________________
                                               Peter M. Daigle, Esquire

 Dated: April 26, 2016


 First Class Mail:

 Massachusetts Department of Revenue
 Bankruptcy Unit
 P.O. Box 9564
 Boston, MA 02114

 Internal Revenue Service
 PO Box 7346
 Philadelphia, PA 19101

 Bank Of America
 Attention: Recovery Department
 4161 Peidmont Pkwy.
 Greensboro, NC 27410

 Bank Of America
 Po Box 982235
 El Paso, TX 79998

 Capital One
 Attn: Bankruptcy
 Po Box 30285
 Salt Lake City, UT 84130

 Capital One
 Po Box 85520
 Richmond, VA 23285

 Chase Card
 P.o. Box 15298
 Wilmington, DE 19850
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 Chase Mtg
 Po Box 24696
 Columbus, OH 43224

 Collection
 4500 Salisbury Rd Ste 10
 Jacksonville, FL 32216

 Nationstar Mortgage LLC
 Attn: Bankruptcy
 350 Highland Dr
 Lewisville, TX 75067

 Nationstar Mortgage LLC
 Po Box 199111
 Dallas, TX 75235
